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                                                              UNITED STATES DISTRICT COURT
                                                              SOUTHERN DISTRICT OF FLORIDA
                                                                       Case No.: 1:14-cv-24827-UU
 TAL HILSON,

         Plaintiff,

 v.

 SSC330260, L.L.C.,

       Defendant.
 __________________________/

                                        ORDER OF DISMISSAL

         THIS CAUSE is before the Court upon a sua sponte review of the record.

         Pursuant to this Court’s April 23, 2015 Order, D.E. 26, the parties were required to file all papers

 related to the settlement reached by the parties, including any order of dismissal stating specific terms and

 conditions, by May 15, 2015. The parties have failed to file such papers. In the Order, this Court warned

 the parties that failure to comply would result in dismissal without further notice. Accordingly, it is hereby

         ORDERED AND ADJUDGED that this cause is DISMISSED.

         DONE AND ORDERED in Chambers at Miami, Florida, this __26th__ day of May, 2015.


                                                   URSULA UNGARO
                                                   UNITED STATES DISTRICT JUDGE

 copies provided:
 counsel of record
